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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                           Case No.13-60289-CIV-ROSENBAUM/HUNT


  DIAMOND A. KJELLBERG

         Plaintiff,

  v.

  PINNACLE ASSET GROUP, LLC.,

       Defendant.
  _________________________________________/


                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and having amicably resolved all matters in

  controversy, the parties jointly stipulate to a Dismissal with Prejudice of this action with each

  party to bear its own attorney’s fees and costs except as otherwise agreed by the parties.



  s/Barbara Fernandez                                           s/Jennifer Colson
  Barbara Fernandez                                             Jennifer Colson
  Attorney for Defendant                                        Attorney for Plaintiff
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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
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  DIAMOND A. KJELLBERG

         Plaintiff,

  v.

  PINNACLE ASSET GROUP, LLC.,

       Defendant.
  _________________________________________/


                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on June 11th, 2013, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is
  being served this day on all counsel of record or pro se parties identified on the attached Service
  List in the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.



                                                       s/Jennifer M. Colson
                                                       Jennifer M. Colson, Esq.


                                          SERVICE LIST

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